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United States District Court
Northern District of Illinois

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United States District Court
Northern District of Illinois
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